AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                      Middle District
                                                  __________ District of
                                                                      of Tennessee
                                                                         __________

        JUAN EDGERTON, also known as DJUAN
         EDGERTON, and TAMIRA EDGERTON                               )
                                                                     )
                             Plaintiff
                                                                     )
                                v.                                   )    Civil Action No. 3:23-cv-00127
                 GREGORY GEORGE and                                  )
                  PCF FRANCHISE, LLC                                 )
                            Defendant
                                                                     )


                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                         Gregory George
                                         2530 Okeechobee Lane
                                         Fort Lauderdale, FL 33312




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                         James A. Crumlin, Jr. Esq.
                                         Spencer Fane Bone McAllester
                                         511 Union Street, Suite 1000
                                         Nashville, TN 37219



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT
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Date:             02/15/2023
                                                                                       Signature
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 Civil Action No. 3:23-cv-00127

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                  on (date)                          ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                          ; or

           u I returned the summons unexecuted because                                                                             ; or

           u Other (specify):
                                                                                                                                          .


           My fees are $                           for travel and $                 for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:




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AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                      Middle District
                                                  __________ District of
                                                                      of Tennessee
                                                                         __________

        JUAN EDGERTON, also known as DJUAN
         EDGERTON, and TAMIRA EDGERTON                             )
                                                                   )
                             Plaintiff
                                                                   )
                                v.                                 )      Civil Action No. 3:23-cv-00127
                 GREGORY GEORGE and                                )
                  PCF FRANCHISE, LLC                               )
                            Defendant
                                                                   )


                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                         PCF Franchise, LLC
                                         c/o WT@C Corporate Services, Inc., registered agent
                                         400 West Market Street
                                         Louisville, KY 40202


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
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Date:            02/15/2023
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 Civil Action No. 3:23-cv-00127

                                                       PROOF OF SERVICE
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           u I served the summons on (name of individual)                                                                     , who is
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                                                                                  on (date)                          ; or

           u I returned the summons unexecuted because                                                                             ; or

           u Other (specify):
                                                                                                                                          .


           My fees are $                           for travel and $                 for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:




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